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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
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       -and-
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                                                                       Chapter 11
     In re:
                                                                       Case No. 22-19361 (MBK)
     BLOCKFI INC., et al.,
                                                                       Jointly Administered
                                  Debtors.1




 1
              The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
              identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC
              (5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A);
              BlockFi Investment Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154).
              The location of the Debtors’ service address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.

 64952044 v1
 64956480 v1
 64956480 v2
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        LIMITED OBJECTION OF THE OFFICIAL COMMITTEE OF UNSECURED
       CREDITORS TO THE DEBTORS’ MOTION SEEKING ENTRY OF AN ORDER
       (I) APPROVING THE BIDDING PROCEDURES AND RELATED DATES AND
     DEADLINES, (II) SCHEDULING HEARINGS AND OBJECTION DEADLINES WITH
      RESPECT TO THE DEBTORS’ SALE, DISCLOSURE STATEMENT, AND PLAN
               CONFIRMATION, AND (III) GRANTING RELATED RELIEF

         The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

 above-captioned Chapter 11 cases of BlockFi, Inc. and its affiliated debtors (collectively, the

 “Debtors,” or “BlockFi”) respectfully submits this limited objection (this “Limited Objection”)

 to the Debtors’ Motion Seeking Entry of an Order (I) Approving the Bidding Procedures and

 Related Dates and Deadlines, (II) Scheduling Hearings and Objection Deadlines With Respect to

 the Debtors’ Sale, Disclosure Statement, and Plan Confirmation, and (III) Granting Related Relief

 [Docket No. 226] (the “Motion”).2 In support of this Limited Objection, the Committee states as

 follows:

                                         LIMITED OBJECTION

         1.      The Committee has the duty to ensure that the relief requested in the Motion and

 any action taken thereunder is a proper use of estate resources and constitutes an exercise of

 reasonable business judgment.

         2.      The Committee does not object, in principle, to the relief requested in the Motion,

 and supports a value-maximizing competitive process. The Committee has discussed with the

 Debtors certain limited concerns and is pleased to report that, except as reflected below, the

 Committee’s concerns have been resolved and such resolution shall be reflected in revised

 proposed relief to be submitted by the Debtors.




 2
         Capitalized terms used in this Limited Objection but not otherwise defined herein shall have the meanings
         ascribed to them in the Motion.


                                                        2
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         3.      As it relates to the Motion, the Committee hereby restates and incorporates by

 reference its objection3 to the Debtors’ proposed retention of Moelis & Company (“Moelis”) as

 the Debtors’ investment banker on the grounds articulated therein. Broadly speaking, it is unclear

 the rich compensation structure for Moelis will inure benefit to the estates and is a proper use of

 estate funds at this juncture of the case.

                                   RESERVATION OF RIGHTS

         4.      The Committee reserves all rights to (i) determine that a sale process is not in the

 best interests of the estate, and (ii) object to the proposed disclosure and confirmation timeline if

 necessary.

         5.      The Committee reserves all of their respective rights, claims, defenses, and

 remedies, including, without limitation, the right to amend, modify, or supplement this Limited

 Objection, seek discovery, raise additional objections during any hearing on the Motion, and

 negotiate and document alternative proposals for relief.




                         [THIS SPACE INTENTIONALLY LEFT BLANK]




 3
         See Docket No. 279.


                                                  3
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                                           CONCLUSION

        WHEREFORE, the Committee respectfully requests that the Court (i) sustain this Limited

 Objection and otherwise grant the relief sought in the Motion with the changes described herein,

 and (ii) grant such other and further relief it deems proper.

 Dated: January 24, 2023                        By:    /s/ Daniel M. Stolz
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